               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF HAWAII
___________________________________
                                    )
SECRETARY OF LABOR, UNITED STATES )
DEPARTMENT OF LABOR, EDWARD HUGLER )
                                    )
                    Plaintiff,      )
                                    )
v.                                  ) Civ. No. 16-00077 ACK-KSC
                                    )
KAZU CONSTRUCTION, LLC,             )
a corporation; and VERNON LOWRY,    )
an individual,                      )
                                    )
                    Defendants.     )
___________________________________)



  ORDER GRANTING IN PART AND DENYING IN PART DEFENDANTS’ MOTION
                   FOR PARTIAL SUMMARY JUDGMENT

           For the reasons set forth below, the Court GRANTS IN

PART AND DENIES IN PART Defendants’ Motion for Partial Summary

Judgment, ECF No. 43.

                              BACKGROUND

           Defendant Kazu Construction, LLC (“Kazu Construction”)

is a limited liability company whose sole member is Defendant

Vernon Lowry (“Mr. Lowry”).    Defs. Concise Statement of Facts,

ECF No. 44, ¶ 1 (“Defs. CSF”).    From 2012-2014, Kazu

Construction was the contractor for the development of the

Makaha Oceanview Estates (“MOE Project”).   Id.; ECF No. 78 at

10.   At issue in this case are Defendants’ employment and

recordkeeping practices under the Fair Labor Standards Act, 29


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U.S.C. §§ 206, 207, 215(a) (2) and 215(a) (5) (“FLSA”).      Compl.

¶ 1, ECF No. 1.    The Secretary of Labor (“Secretary”) alleges

that Defendants failed to pay certain employees minimum wage and

overtime compensation by engaging in a practice of banking hours

in excess of 40 hours a week.    Id. ¶¶ 10-11.    In addition,

Defendants failed to make, keep, and preserve accurate records

of the hours worked by employees.    Id. ¶ 12.

            The Department of Labor learned about this allegedly

unlawful scheme after a former Kazu Construction employee,

Dennis Tadio, filed a complaint with the state labor agency on

July 7, 2014 seeking unpaid wages.       Opp. at 12; Lee Decl., Ex.

1, ECF No. 83 (Tadio complaint).    The state agency specialist

then referred Mr. Tadio to the U.S. Department of Labor, Wage

and Hour Division to investigate a possible overtime violation.

Opp. at 13; Tadio Decl. ¶ 7, ECF No. 84; Lee Decl. ¶ 3, ECF No.

83.

            The Secretary filed his complaint on February 22,

2016.    ECF No. 1.   Defendants filed the instant Motion for

Partial Summary Judgment on November 16, 2016.      ECF No. 43

(“Motion” or “MSJ”).    The Secretary filed his Opposition and

accompanying Concise Statement of Disputed Facts on February 13,

2017.    ECF Nos. 77-78 (ECF No. 78, “Opp.”; ECF No. 77, “Pls.

CSF”).   Defendants filed their Reply on February 20, 2017.      ECF

No. 88 (“Reply).

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           This Court held a hearing on Defendants’ Motion on

April 10, 2017.

                               STANDARD

           Summary judgment is proper where there is no genuine

issue of material fact and the moving party is entitled to

judgment as a matter of law.    Fed. R. Civ. P. 56(a).   Federal

Rule of Civil Procedure (“Rule”) 56(a) mandates summary judgment

“against a party who fails to make a showing sufficient to

establish the existence of an element essential to the party’s

case, and on which that party will bear the burden of proof at

trial.”   Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); see

also Broussard v. Univ. of Cal., at Berkeley, 192 F.3d 1252,

1258 (9th Cir. 1999).

           “A party seeking summary judgment bears the initial

burden of informing the court of the basis for its motion and of

identifying those portions of the pleadings and discovery

responses that demonstrate the absence of a genuine issue of

material fact.”    Soremekun v. Thrifty Payless, Inc., 509 F.3d

978, 984 (9th Cir. 2007) (citing Celotex, 477 U.S. at 323); see

also Jespersen v. Harrah’s Operating Co., 392 F.3d 1076, 1079

(9th Cir. 2004).   “When the moving party has carried its burden

under Rule 56[(a)] its opponent must do more than simply show

that there is some metaphysical doubt as to the material facts

[and] come forward with specific facts showing that there is a

                                - 3 -
genuine issue for trial.”   Matsushita Elec. Indus. Co., Ltd. v.

Zenith Radio, 475 U.S. 574, 586–87 (1986) (citation and internal

quotation marks omitted); see also Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 247–48 (1986) (stating that a party cannot

“rest upon the mere allegations or denials of his pleading” in

opposing summary judgment).

          “An issue is ‘genuine’ only if there is a sufficient

evidentiary basis on which a reasonable fact finder could find

for the nonmoving party, and a dispute is ‘material’ only if it

could affect the outcome of the suit under the governing law.”

In re Barboza, 545 F.3d 702, 707 (9th Cir. 2008) (citing

Anderson, 477 U.S. at 248).    When considering the evidence on a

motion for summary judgment, the court must draw all reasonable

inferences on behalf of the nonmoving party.   Matsushita Elec.

Indus. Co., 475 U.S. at 587; see also Posey v. Lake Pend Oreille

Sch. Dist. No. 84, 546 F.3d 1121, 1126 (9th Cir. 2008) (stating

that “the evidence of [the nonmovant] is to be believed, and all

justifiable inferences are to be drawn in his favor”).

                              DISCUSSION

I.   Statute of Limitations

          The parties first dispute whether the applicable

statute of limitations is two or three years, and regardless,

whether the Secretary is entitled to equitable tolling.    The

ordinary statute of limitations for an FLSA violation is two

                                - 4 -
years; however, “a cause of action arising out of a willful

violation may be commenced within three years after the cause of

action accrued.”   29 U.S.C. § 255(a).

  A. Willfulness

          “A violation of the FLSA is willful if the employer

‘knew or showed reckless disregard for the matter of whether its

conduct was prohibited by the [FLSA].”   Chao v. A-One Med.

Servs., Inc., 346 F.3d 908, 918 (9th Cir. 2003) (quoting

McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988))

(alteration in original); Flores v. City of San Gabriel, 824

F.3d 890, 906 (9th Cir. 2016) (“A violation is willful if the

employer knew or showed reckless disregard for the matter of

whether its conduct was prohibited by the [FLSA].”) (internal

quotation and citation omitted) (alteration in original).

          The Ninth Circuit has found willfulness where the

employer was “on notice of its FLSA requirements, yet took no

affirmative action to assure compliance with them.”   Alvarez v.

IBP, Inc., 339 F.3d 894, 909 (9th Cir. 2003).   “[T]he three-year

term can apply where an employer disregarded the very

possibility that it was violating the statute.”   Id. at 908-09

(finding willfulness where the employer “could easily have

inquired into the meaning of the relevant FLSA terms and the

type of steps necessary to comply therewith” but instead

“attempt[ed] to evade compliance, or to minimize the actions

                               - 5 -
necessary to achieve compliance therewith.”) (internal citation

and quotation omitted).

             Defendants seem to imply that willfulness only arises

“when an employer knows that its current position had previously

been invalidated or questioned in a prior legal proceeding.”

MSJ at 10.    However, while this is one way in which willfulness

may be shown, the Court agrees with the Secretary that courts

have found willfulness in variety of circumstances.    See Opp. at

14 & n.41.    A district court in Oregon found willfulness where

experienced business people required employees to split their

time between two companies in order to evade FLSA overtime

requirements, of which they were aware.    Perez v. Oak Grove

Cinemas, Inc., 68 F. Supp. 3d 1234, 1245 (D. Or. 2014).    A

district court in Nevada also found willfulness where the

defendant allegedly paid workers on a per job basis, regardless

of the hours worked, and that workers were not paid for training

time, among other issues.    Cholette v. Installpro, Inc., No.

2:10-CV-02153-KJD, 2012 WL 2190844, at *2 (D. Nev. June 13,

2012).   Because the pay structure disregarded the hours worked,

the court found that the defendant was reckless in risking a

violation of FLSA minimum wage and overtime requirements.      Id.

             In addition, several courts have found willfulness

where the employers failed to make any real effort to keep

records of the employee’s hours.    See, e.g., Thornton v. Crazy

                                 - 6 -
Horse, Inc., No. 3:06-CV-00251-TMB, 2012 WL 2175753, at *11 (D.

Alaska June 14, 2012) (“Record keeping was atrocious, management

never seemed to make any sincere effort to determine when

dancers were coming and going or working or not working.”); Xuan

v. Joo Yeon Corp., No. 1:12-CV-00032, 2015 WL 8483300, at *5 (D.

N. Mar. I. Dec. 9, 2015) (despite employer’s belief he was

following the law, his failure to track employee’s hours was

willful because he “proceed[ed] as if the risk did not exist at

all”).

          Here, Mr. Lowry has declared that he “stated in the

presence of employees that [he] did not want employees working

overtime” and that it “has never been [his] understanding or

intent that Kazu employees were working overtime.”   Lowry Decl.

¶ 7, ECF No. 44-5.    However, this is insufficient to merit

summary judgment.    In the first place, as a matter of law the

regulations dictate that:

          [i]n all such cases it is the duty of the
          management to exercise its control and see
          that the work is not performed if it does
          not want it to be performed. It cannot sit
          back and accept the benefits without
          compensating for them. The mere
          promulgation of a rule against such work is
          not enough. Management has the power to
          enforce the rule and must make every effort
          to do so.

29 C.F.R. § 785.13.   Thus, merely stating that Mr. Lowry did not

want or intend for employees to work overtime is insufficient to


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relieve Defendants of their burden to pay any overtime worked.

If Defendants were or should have been aware that overtime might

be accruing, they needed to “make every effort” to prevent it

from being performed.   See Forrester v. Roth’s I.G.A. Foodliner,

Inc., 646 F.2d 413, 414 (9th Cir. 1981) (“[A]n employer who

knows or should have known that an employee is or was working

overtime must comply with the provisions of § 207” and may not

“stand idly by...even if the employee does not make a claim for

the overtime compensation.”).   And while an employee’s failure

to notify the employer regarding overtime worked or deliberately

preventing the employer from having such knowledge may impede an

FLSA overtime claim, there does not seem to be any evidence of

such issues here.   See id. (“[W]here an employer has no

knowledge that an employee is engaging in overtime work and that

employee fails to notify the employer or deliberately prevents

the employer from acquiring knowledge of the overtime work, the

employer’s failure to pay for the overtime is not a violation of

§ 207.”).

            In addition, the Secretary has submitted evidence

creating a genuine dispute of material fact regarding

Defendants’ willfulness.   There is evidence that Defendants were

aware of their obligation to document and pay overtime.    See

Caparas Decl., Ex. B, ECF No. 80 (investigation statement by Mr.

Lowry that “[i]f an employee works overtime then overtime is

                                - 8 -
documented.   Employees are then paid overtime.”); Santos Decl.,

Ex. B, ECF No. 79-2 (Desiree Lowry1 Dep., 99:3-15, 197:5-198:9)

(describing how new employees are told that they will be paid at

time-and-a-half for overtime, and that the FLSA requires payment

for hours worked on a weekly basis and does not allow averaging

of hours over greater periods of time).   Defendants also do not

appear to dispute their awareness of FLSA requirements.

          More importantly, the Secretary has shown evidence

sufficient for a reasonable jury to find that Defendants knew or

were reckless with respect to their duties to track and pay

overtime to Kazu Construction’s employees.   The declarations of

several employees suggest that Mr. Lowry knew that his employees

were or likely would be working overtime and advised them that

overtime hours would be banked rather than paid.   See, e.g.,

Cummings Decl. ¶ 5, ECF No. 85 (“Mr. Vernon Lowry told me that

we would be working 70 hours per week, we would get paid for 40

hours of work and the extra hours we would bank.”); Napierala

Decl. ¶¶ 4, 5, 7, ECF No. 81 (Napierala reported to Mr. Lowry

how long everyone worked, which was typically around 70 hours

per week, and Mr. Lowry told them hours worked in excess of 40

would be banked); Tadio Decl. ¶ 3, ECF No. 84 (“[Mr. Lowry] told


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  Desiree Lowry is the wife of Defendant Vernon Lowry. She is
the Director of Operations for Kazu Construction. D. Lowry Dep.
at 30:13-17.


                               - 9 -
me that the extra hours we worked were being ‘banked’ for our

later use when needed, and that was the reason our paychecks did

not include compensation for them.”).

           The sole source for the time cards that Desiree Lowry

created and then submitted for payment was the work logs that

Mr. Lowry created.   D. Lowry Dep. at 153:6-154:8 (in creating

time cards, “I relied on the work log [Mr. Lowry sent]... if the

work log is incorrect, then the time card would be incorrect.”).

Employees did not enter their own time or keep time cards.

Tadio Decl. ¶ 2, ECF No. 84 (“I did not sign-in or enter hours

into a timesheet”); K. Hendricksen interview statement, Caparas

Decl., Ex. F, ECF No. 80 (Mr. Lowry tracked hours and

Hendricksen never signed a time sheet).   Rather, Mr. Lowry was

aware of and kept records of the hours that his employees were

working.   Napierala Decl. ¶ 5, ECF No. 81 (stating that he

reported to Mr. Lowry each day how long the employees worked,

and “Mr. Lowry kept the records of the hours that I worked on

his phone.”).   The time cards eventually submitted were

inaccurate and included time for hours not worked.   D. Lowry

Dep. at 173:1-4, 175:10-25 (admitting that time cards for

Napierala, Tadio, and Cummings show hours not in fact worked;

time cards were used to track hours charged to different jobs).

Finally, there is evidence that employees worked more hours than

were recorded on their pay stubs.   See Napierala Decl. ¶¶ 4-5,

                              - 10 -
ECF No. 81 (Mr. Lowry recorded time worked, and paystubs only

showed 40 hours per week despite typically working 10 hours per

day and around 70 hours per week); Tadio Decl. ¶¶ 3-5, ECF No.

84 (similar); Cummings Decl. ¶¶ 3-6, ECF No. 85 (similar).

          In sum, viewed in the most favorable light, the

Secretary’s evidence shows that, even though Defendants were

aware of the FLSA’s overtime requirements, they paid employees

according to time records that were inaccurate and undercounted

the amount of hours their employees worked.     The Court finds

that there is a genuine dispute of material fact as to

Defendants’ willfulness and whether the three-year statute of

limitations applies.    Accordingly, the Court DENIES Defendants’

Motion on this basis.

  B. Claims Prior to February 22, 2013

          Defendants also argue that the Secretary is barred

from seeking claims prior to February 22, 2013 as employees did

not work any overtime prior to that date, and as any claims

prior to that date would be barred by the three-year statute of

limitations.   Motion at 11-12.   The Secretary asserts that there

are disputed facts as to whether there were overtime violations

prior to February 22, 2013 and argues that he may be entitled to

equitable tolling.   Opp. at 18-19.     Defendants dispute whether

equitable tolling is available in an FLSA action, and even if

so, that the Secretary is entitled to it.     Reply at 2-9.

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            The Court first turns to whether the Secretary has

sufficiently controverted Defendants’ assertion that claims

prior to February 22, 2013 are time-barred because employees did

not work overtime.    The Secretary asserts that even in 2012,

most of Defendants’ employees worked up to 70 hours per week,

six to seven days a week, relying primarily on the declarations

of Richard Napierala, Preston Cummings, and Dennis Tadio.    Pls.

CSF ¶ 12.   However, the declarations of Mr. Cummings and Mr.

Tadio do not speak to the relevant time period here, because

they began work at Kazu Construction in March and February of

2013, respectively.   See Cummings Decl. ¶ 1, ECF No. 85; Tadio

Decl. ¶ 1, ECF No. 84.   Nevertheless, Mr. Napierala began

working at Kazu Construction in September 2012, and he stated

that only 2-4 workers were employed in 2012, and that they

usually worked 7 days a week for more than 8 hours a day.    See

generally Napierala Decl., ECF No. 81; see also Kramer Decl. ¶

5, ECF No. 82 (noting that certain employees appeared to work

continuously six to seven days a week).   This evidence is

sufficient to establish a dispute of fact as to whether

employees worked overtime prior to February 22, 2013.

            However, even if employees did work overtime prior to

February 22, 2013, the Secretary’s claims prior to that date




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would be time-barred absent equitable tolling.2   In the Ninth

Circuit, the FLSA limitations period is subject to the doctrine

of equitable tolling.   See Partlow v. Jewish Orphans' Home of S.

Cal., Inc., 645 F.2d 757, 760 (9th Cir.1981), overruled on other

grounds by Hoffmann–La Roche, Inc. v. Sperling, 493 U.S. 165

(1989); see also Barba v. Seung Heun Lee, No. CV 09-1115, 2009

WL 8747368, at *28 (D. Ariz. Nov. 4, 2009) (“The FLSA

limitations period is subject to the doctrine of equitable

tolling.”); Kellgren v. Petco Animal Supplies, Inc., No. 13-CV-

644, 2014 WL 2558688, at *4 (S.D. Cal. June 6, 2014) (“The


2
  Contrary to Defendants’ assertion, the possibility that the
three-year statute of limitations may apply does not prevent the
possible application of equitable tolling. See Reply at 8-9.
Defendants’ citation to a case from the Court of Federal Claims
is not persuasive, particularly in light of the more recent
recognition by that jurisdiction that “the weight of authority
favors equitable tolling of FLSA claims.” Christofferson v.
United States, 64 Fed. Cl. 316, 326 (Fed. Cl. 2005) (rejecting
argument that equitable tolling was not permissible as Congress
had provided for a three-year statute of limitations for willful
violations); see also Moreno v. United States, 82 Fed. Cl. 387,
401-02 (Fed. Cl. 2008) (discussing the split in Federal Circuit
caselaw regarding the availability of equitable tolling). The
Court also notes that numerous district courts in this circuit
have allowed plaintiffs to assert both willfulness and equitable
tolling arguments. See, e.g., Dualan v. Jacob Transp. Servs.,
LLC, 172 F. Supp. 3d 1138 (D. Nev. 2016) (finding sufficient
showing of both willfulness and equitable tolling at conditional
class certification stage); Chastain v. Cam, No. 3:13-CV-01802-
SI, 2014 WL 3734368, at *8 (D. Or. July 28, 2014) (concluding
that both equitable tolling and the three-year statute of
limitations could apply); Morgovsky v. AdBrite, Inc., No. C 10-
05143 SBA, 2012 WL 1595105, at *7 (N.D. Cal. May 4, 2012)
(allowing amendment of complaint to allege facts supporting both
willfulness and equitable tolling).


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statute of limitations for FLSA claims is subject to equitable

tolling.”).

            “Equitable tolling applies when the plaintiff is

prevented from asserting a claim by wrongful conduct on the part

of the defendant, or when extraordinary circumstances beyond the

plaintiff’s control made it impossible to file a claim on time.”

Stoll v. Runyon, 165 F.3d 1238, 1242 (9th Cir. 1999).    “[A]

litigant seeking equitable tolling bears the burden of

establishing [the] elements.”    Pace v. DiGuglielmo, 544 U.S.

408, 418 (2005); see also Kwai Fun Wong v. Beebe, 732 F.3d 1030,

1052 (9th Cir. 2013).

            Although the Secretary argues that Defendants have

failed to rebut his equitable tolling theory, see Opp. at 18-19,

it is not entirely apparent from the parties’ papers what the

theory of equitable tolling actually is.   The Secretary’s brief

states that he informed Defendants’ counsel that he would be

pursuing equitable tolling, Opp. at 18 n.56, and appears to

argue that he is entitled to pursue equitable tolling on the

basis that there is a dispute of fact regarding whether

employees worked overtime prior to February 22, 2013, Opp. at

19.

            If this is in fact the Secretary’s theory, it misses

the mark.   Equitable tolling focuses on the plaintiff’s

diligence or the defendant’s wrongful conduct in preventing the

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plaintiff from timely asserting his claim.   See Stoll, 165 F.3d

at 1242; Kwai Fun Wong, 732 F.3d at 1052 (the party seeking

equitable tolling must establish “(1) that he has been pursuing

his rights diligently, and (2) that some extraordinary

circumstance stood in his way”).   Here, the Secretary does not

appear to have made an argument or provided evidence in support

of either equitable factor.

           The Court agrees with Defendants’ assertion that the

Secretary does not appear to have been diligent.   Reply at 3-4.

It is undisputed that the Department of Labor first issued a

back wage calculation extending back to 2012 in October 2014,

and that the Secretary was unsuccessful in getting Defendants to

sign a tolling agreement in February 2015.   Reply at 3-4.

Although the Secretary seems to have been aware of the claims

and statute of limitations issues at that time, he waited

approximately one year to file the complaint.   See Compl., ECF

No. 1.   The Secretary fails to explain this delay or his

diligent pursuit of these claims, when the Department of Labor

appears to have been well aware of the statute of limitations

and the alleged overtime violations at least as early as

February 2015.

           Nor has the Secretary explained how Defendants

wrongfully prevented him from discovering the alleged violations

and timely filing a complaint.   Even if Defendants’ record

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keeping practices prevented the Department of Labor from

discovering the alleged overtime issues as they occurred, the

Secretary had the opportunity to investigate the overtime issues

in late 2014 and early 2015.    Had the Secretary filed his

complaint at that time, he would have been able to pursue

virtually all of the damages he now claims, assuming he can

prove a willful violation as discussed supra.

             In addition, Defendants also question whether the

equitable tolling inquiry should focus on the conduct of the

Department of Labor or of the individual employees.    Reply at 2-

4.   Equitable tolling focuses on the litigant.   See Kwai Fun

Wong, 732 F.3d at 1052 (discussing the showings the “litigant”

must make); see also Chao v. Va. DOT, 291 F.3d 276, 283 (4th

Cir. 2002) (rejecting Secretary’s argument that she had been

diligent because the individual employees had diligently pursued

private claims, as equitable tolling focuses on the plaintiff).

Here, the litigant is the Secretary of Labor, not the individual

employees.    The complaint clearly identifies the Secretary of

Labor as the plaintiff and distinguishes the employees to whom

the Defendants allegedly owe wage and overtime compensation.

See generally Compl.

             Moreover, even if the circumstances of the individual

employees were relevant, the Secretary still bears the burden of

providing evidence showing how the employees’ circumstances

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entitle him to equitable tolling in suing on their behalf.

However, the Secretary has not provided facts sufficient to meet

that burden, as he merely states that the tolling “is essential

to fully compensate workers and to ensure that bad actors, such

as Defendants, do not benefit from their efforts to evade the

law.”   Opp. at 19.   This conclusory statement does not evidence

how the employees have been diligent or explain how the

Defendants’ allegedly wrongful conduct prevented the employees

from discovering their rights in time.3


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  In addition, the evidence Defendants have submitted shows that
employees were aware they were entitled to overtime and that
their hours were being banked and failed to raise claims. See
Reply at 4-8. Even if the employees were not aware that the
informal banking system was illegal, they have not shown that
they were “excusably ignorant” of the FLSA limitations period.
See Stallcop v. Kaiser Foundation Hosps., 820 F.2d 1044, 1050
(9th Cir. 1987) (“Equitable tolling requires that [the plaintiff
be] excusably ignorant of the limitations period.”); see also
Barba, 2009 WL 8747368, at *29 (rejecting equitable tolling
where employees did not provide evidence that underpayment was
concealed and finding claims accrued on each payday). This is
particularly true where the Department of Labor investigated and
produced back wage violation calculations in October 2014 and
February 2015, Defs. CSF ¶ 13, and there is no evidence that the
employees have taken any steps to protect their rights since
then. The Secretary additionally asserted at the hearing that
Defendants affirmatively misled employees into believing that
the informal banking system was legal. However, while
Defendants allegedly engaged in an illegal banking system, there
does not appear to be evidence supporting that Defendants
additionally represented the legality of such practice to their
employees. See Morales v. Laborer’s Union Local 304, No. C 11-
02278 WHA, 2012 WL 70578, at *5 (N.D. Cal. Jan. 9, 2012)
(allowing equitable tolling pursuant to a fraudulent concealment
theory where the defendant proclaimed the legality of its
conduct and expressly relied on its claimed expertise in
(Continued...)
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           The Court thus finds that even though there is a

dispute of fact regarding whether employees worked overtime

prior to February 22, 2013, the Secretary has not provided a

basis on which a reasonable factfinder could conclude he is

entitled to equitable tolling.   Accordingly, the Court finds

that claims prior to February 22, 2013 are time-barred and

GRANTS partial summary judgment to Defendants on this issue.

II.   Claims Regarding Particular Employees

        A. Whether Claims on Behalf of Richard Napierala Must Be
           Dismissed for Failure to Name Him in the Complaint.

           Defendants next move to dismiss claims for back wages

and liquidated damages on behalf of Richard Napierala because he

was not named as a claimant.   MSJ at 12-14.    The Secretary

counters that he was not required to name Mr. Napierala as a

“claimant” in the complaint.   Opp. at 20 n.62.    In his

complaint, the Secretary seeks back wages and liquidated damages

pursuant to 29 U.S.C. §§ 216(c) and 217.     Compl. ¶ 12.   Section

216(c) authorizes the Secretary to seek unpaid minimum wages,

unpaid overtime compensation, and liquidated damages on behalf

of employees.   29 U.S.C. § 216(c).     Section 217 provides

jurisdiction for federal courts to restrain the withholding of

minimum wages or overtime compensation due to employees, but



employment law to mislead plaintiffs into believing their rights
were not violated by the practice at issue).


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does not allow for the recovery of liquidated damages.    See id.

§ 217.

             As the Ninth Circuit has recognized, “[t]he authority

of the Secretary to seek back wages under § 17 of the FLSA

without specifically naming employees in the complaint is well-

established.”    Donovan v. Crisostomo, 689 F.2d 869, 875 (9th

Cir. 1982) (citing Donovan v. Univ. of Tex., 643 F.2d 1201 (5th

Cir. 1981) and EEOC v. Gilbarco, Inc., 615 F.2d 985 (4th Cir.

1980)).   There is thus no question that the Secretary may pursue

§ 17 claims on behalf of Mr. Napierala without naming him in the

complaint.    Defendants’ Motion is thus denied to the extent it

seeks to bar recovery under § 217.

             However, in order to recover under § 216, employees

must be named in the complaint.    See Ford v. Troyer, 156 F.3d

181 (5th Cir. 1998) (unpublished) (“Section 216 allows the

Secretary to recover back wages and liquidated damages on behalf

of employees specifically named in the complaint.”); EEOC v.

Sperry-Univac Corp., No. C 81-0276J, 1982 WL 649, at *5 (D. Utah

Nov. 29, 1982) (“[O]nly if the EEOC seeks liquidated damages

pursuant to 29 U.S.C. § 216(c) need it name the aggrieved

persons as plaintiffs in order to recover on their behalf.”).

The Ninth Circuit has held that an action for a claim under §

216(c) commences for statute of limitations purposes on the date

that the claimant was identified in the complaint.    See Donovan,

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689 F.2d at 875; Solis v. Wash. Dep’t of Soc. & Health Servs.,

Case No. C08-6579, 2016 WL 879166, at *6 (W.D. Wash. Mar. 8,

2016) (“[C]laims under section 216(c) are limited to two years

from the date of identifying the particular employee.”).

          Here, there is no question that Mr. Napierala was not

identified in the complaint filed on February 22, 2016.    See

Compl., Ex. A.4   However, in the Amended Exhibit A filed on

February 13, 2017, the Secretary added Richard Napierala’s name

to the list.    ECF No. 86.   Assuming that listing Mr. Napierala

in the exhibit qualifies for purposes of § 216, the applicable

statute of limitations on his claims would be calculated based

on that date.

          In their Reply, Defendants appear to assert that

listing employees in Exhibit A does not satisfy the naming

requirement of § 216 because it does not designate any of the

employees as “individual claimants” or “party plaintiffs.”

Reply at 10.    However, courts do not require the employees on

whose behalf the Secretary seeks to recover to be named as

plaintiffs.    In EEOC v. Hernando Bank, the Fifth Circuit found

that naming three employees in the prayer for relief was

sufficient.    724 F.2d 1188, 1193 (5th Cir. 1984).   And in Reich

v. Great Lakes Collection Bureau, Inc., the district court found

4
  Exhibit A does list Stanley Napierala, but not Richard
Napierala.


                                - 20 -
that identifying individuals by way of an exhibit to the

complaint was sufficient to name the employees involved under §

216(c).   176 F.R.D. 81, 84 (W.D.N.Y. 1997).   Similarly in U.S.

EEOC v. Elrod, the district court found that the agency had

sufficiently identified employees for purposes of § 216(c) by

listing them in appendices.   No. 84 C 10886, 1986 WL 10374, at

*3-4 (N.D. Ill. Sept. 12, 1986).   And in Donovan, the Ninth

Circuit concluded that naming employees in a pre-trial order was

sufficient to commence § 216(c) claims because the order bound

the parties.    689 F.2d at 875.

           Defendants are correct in noting that the Secretary

says that the individuals identified in Exhibit A here “are not

individual claimants.”   Reply at 10; Opp. at 20 n.62.   However,

the Court is inclined to disagree with Defendants’ conclusion

that “the DOL admits that its complaint Exhibit A does not

satisfy the naming requirement of 29 U.S.C. § 216(c).”   Reply at

10.   The Secretary clearly raised claims under § 216(c) seeking

back wages and liquidated damages in his complaint and attached

an exhibit identifying specific employees on whose behalf he was

seeking those damages – which he was not required to do for the

§ 217 claims.   See Compl. & Prayer for Relief (b).   In addition,

the Secretary amended that exhibit to update the list of




                               - 21 -
employees5 and confirmed at the hearing that he is still pursuing

claims under both §§ 216 and 217.   Given that identifying

employees in an exhibit or appendix to the complaint has been

found sufficient for § 216(c) claims, the Court finds that the

Secretary has sufficiently identified Mr. Napierala and other

Kazu Construction employees for purposes of claims under §

216(c) and rejects Defendant’s contention that the Secretary

admitted he has not sufficiently identified the employees by

stating in passing in a footnote that they were “not individual

claimants.”6

          Accordingly, the Court DENIES Defendants’ Motion on

the basis that the Secretary is not entitled to pursue recovery

under § 216(c) on behalf of Mr. Napierala (or any other person

listed in Exhibit A).   However, as Mr. Napierala was not

identified until February 13, 2017 claims on his behalf did not

commence until that date.   For those employees who were named in

the original Exhibit A, claims on their behalf commenced on

February 22, 2016 for statute of limitations purposes.   See

Elrod, 1986 WL 10374, at *3-4 (distinguishing between the date §

5
  To the extent that updating this exhibit constitutes an
amendment to the Secretary’s pleading, the Court notes that
leave to amend pleadings should be freely given and that there
is no undue prejudice from allowing such amendment here.
6
  The Secretary also clarified at the hearing that his use of the
term “individual claimant” was to indicate that the employees
were not plaintiffs, but rather affected employees on whose
behalf the Secretary was seeking damages.


                              - 22 -
216(c) actions commenced for employees named in appendix to the

original complaint versus those named in the appendix to the

amended complaint).

       B. Whether Mr. Napierala and Mr. Aguinaldo Qualify As
          Exempt Employees.

          Defendants argue in the alternative that Mr. Napierala

and Mr. Aguinaldo are not owed any back wages because they

qualify as exempt employees who are not entitled to overtime.

MSJ at 14-19.   Under 29 U.S.C. § 213, the FLSA’s minimum wage

and overtime provisions do not apply to “any employee employed

in a bona fide executive administrative, or professional

capacity....”   29 U.S.C. § 213(a)(1).   According to the

regulations, an employee employed in a bona fide executive

capacity is any employee who is: (1) “[c]ompensated on a salary

basis at a rate of not less than $455 per week”; (2) “[w]hose

primary duty is management of the enterprise in which the

employee is employed or of a customarily recognized department

or subdivision thereof”; (3) “[w]ho customarily and regularly

directs the work of two or more other employees”; and (4) “[w]ho

has the authority to hire or fire other employees or whose

suggestions and recommendations as to the hiring, firing,

promotion or any other change of status or of other employees

are given particular weight.”    29 C.F.R. § 541.100(a).




                                - 23 -
           “An employer who claims an exemption from the FLSA

bears the burden of demonstrating that the exemption applies.”

Klem v. Cty. of Santa Clara, 208 F.3d 1085, 1089 (9th Cir.

2000).   The FLSA is intended to provide for the recovery of

unpaid minimum wages and unpaid overtime compensation, and the

Ninth Circuit has counseled that courts should be “mindful of

the directive that [the statute] is to be liberally construed to

apply the furthest reaches consistent with Congressional

direction.”   Biggs v. Wilson, 1 F.3d 1537, 1539 (9th Cir. 1993).

Thus, in order to ensure that employees are broadly protected

consistent with Congress’s direction, exemptions employers may

claim from complying with the FLSA’s requirements “are to be

narrowly construed...against employers and are to be withheld

except as to persons plainly and unmistakably within their terms

and spirit.’”   See Klem, 208 F.3d at 1089 (quoting Auer v.

Robbins, 519 U.S. 452, 462 (1997)) (alteration in original).

           The only element of the exemption that appears to be

in dispute is the salary-basis.    Defendants have submitted

evidence, which the Secretary does not appear to contest,

regarding the other elements.    The duty of management includes,

but is not limited to, “interviewing, selecting, and training

employees; setting and adjusting their rates of pay and hours of

work; directing the work of employees...determining the

techniques to be used; [and] apportioning the work among

                                - 24 -
employees....”    29 C.F.R. § 541.102.   Here, Defendant has

submitted evidence showing that both Mr. Napierala and Mr.

Aguinaldo hired and fired employees, regularly trained and

monitored employees, and regularly directed and gave assignments

to other employees.    See Defs. CSF ¶¶ 3-4, 8, 10.   The Secretary

has not disputed these facts.    See Pls. CSF at 2 n.2 (explicitly

not disputing those particular paragraphs, among others, of

Defendants’ Statement of Facts).    This same evidence also

demonstrates that Mr. Napierala and Mr. Aguinaldo meet the other

two elements of the exemption regarding the hiring and firing of

employees and regularly directing the work of at least two other

employees.

             Turning to the last element of the exemption,

             [a]n employee will be considered to be paid
             on a ‘salary basis’ within the meaning of
             the[] regulations if the employee regularly
             receives each pay period on a weekly, or
             less frequent basis, a predetermined amount
             constituting all or part of the employee’s
             compensation, which is not subject to
             reduction because of variations in the
             quality or quantity of the work performed.

29 C.F.R. § 541.602(a).    In determining whether an employee is

salaried, “[t]he question is not whether an employer has the

subjective intention that its employees be exempt from the

FLSA’s overtime provisions.    Rather, it is whether the employer

has evinced the objective intention to pay its employees on a



                                - 25 -
salaried basis as defined in the Secretary’s regulations.”

Klem, 208 F.3d at 1091.

          Courts including the Ninth Circuit have held that a

payroll accounting system that calculates pay on an hourly basis

does not necessarily indicate that employees are not salaried.

In McGuire v. City of Portland, the Ninth Circuit affirmed the

district court’s grant of summary judgment that employees were

exempt even where City’s payroll accounting system tracked time,

including absences and hours worked beyond the standard shift,

on an hourly basis.   159 F.3d 460, 464 (9th Cir. 1998).   In

doing so, the court rejected the City’s argument that this

demonstrated that the employees were not salaried, because it

found that the employees had the option of working either 40 or

53 hours per week, but were paid the same amount regardless of

which schedule they chose.   Id.   Although the hourly rates

differed, the City’s practice was to start with the weekly

salary figure, and then work backwards from the schedule to

arrive at an hourly rate.    Id.   Similarly, although leave was

tracked on an hourly basis, the salary was not ordinarily

subject to reduction for absences from work.    Id.

          Likewise, in Palazzolo-Robinson v. Sharis Management

Corp., the court relied on McGuire to conclude that “a payroll

accounting system which calculates an exempt employees [sic] pay

on an hourly basis does not indicate that the employee was not

                               - 26 -
salaried and, thus, is subject to the FLSA’s minimum wage or

overtime wage requirements.”   68 F. Supp. 2d 1186, 1192 (W.D.

Wash. 1999).   There, the payroll accounting system calculated

her salary on an hour-by-hour basis, but the court found that

this did not indicate the employee was not salaried, especially

where she acknowledged that she had been told that she would be

paid a predetermined amount.   Id.; see also, e.g., Wright v.

Aargo Sec. Servs, Inc., No. 99 CIV. 9115 (CSH), 2001 WL 91705,

at *7 (S.D.N.Y. Feb. 2, 2001) (“The label an employer or a time

record furnishes an employee for internal purposes is not

determinative of the employee’s status under the FLSA.”) (citing

McGuire and Palazzolo).   Cf. Brunnozi v. Cable Commc’ns, Inc., -

--F.3d ----, 2017 WL 1055588, at *3 (9th Cir. Mar. 21, 2017) (in

determining what constitutes an employee’s regular rate of pay,

the court must evaluate “what happens under the contract” and

cannot rely on a declaration by the parties or “contract

nomenclature”).

          However, courts have rejected attempts to mask hourly

pay structures as salary guarantees.    In Brock v. Claridge Hotel

and Casino, the Third Circuit affirmed the district court’s

conclusions that the employee’s wages were actually calculated

on an hourly basis.   846 F.2d 180, 184 (3d Cir. 1988).   The

court rejected the employer’s argument that the additional

compensation the employee was claiming was a bonus to

                               - 27 -
incentivize better performance, finding that the bonus varied

with the number of hours worked, which encouraged the employee

to work more hours, not to perform better.    Id. at 185; see also

Hodgson v. Cactus Craft of Ariz., 481 F.2d 464, 466 (9th Cir.

1973) (affirming as not clearly erroneous trial court’s findings

that employees were paid on an hourly basis, despite employer’s

claims that they were salaried).

             Here, Defendants assert that both Mr. Napierala and

Mr. Aguinaldo were paid a predetermined weekly amount in excess

of the statutory minimum, and thus were salaried employees.      See

Defs. CSF ¶¶ 9, 11.    As to Mr. Aguinaldo, both he and Mr. Lowry

submitted declarations evidencing that they understood that Mr.

Aguinaldo would receive guaranteed pay that was not subject to

reduction.    Aguinaldo Decl. ¶ 3, ECF No. 44-1 (“I understood

that my pay was guaranteed and would not be subject to

reduction.”); Lowry Decl. ¶ 10, ECF No. 44-5 (“Kazu provided

Aguinaldo with a predetermined weekly pay, which was not subject

to reduction based upon the quantity or quality of his work.”).

As to Mr. Napierala, Defendants rely only on Mr. Lowry’s

declaration stating that Mr. Napierala received a predetermined

weekly pay not subject to reduction.7    Lowry Decl. ¶ 11, ECF No.


7
  Defendants also state that the Department of Labor investigator
“expressly represented to Kazu that Napierala was exempt and
that the DOL was not seeking any back wages for him.” Motion at
(Continued...)
                                - 28 -
44-5 (“Kazu provided Napierala with a predetermined weekly pay,

which was not subject to reduction based upon the quality or

quantity of his work.”).

          In attempting to dispute these facts, the Secretary

relies on paragraphs 5, 6, 9, and 11 of his Statement of

Disputed Facts.   See Opp. at 20 n.63.   This evidence roughly

falls into three categories.   First, the Secretary points to the

Payroll Register for Kazu Construction, which designates the pay

type for Mr. and Mrs. Lowry as “Salary” and for Mr. Napierala

and Mr. Aguinaldo as “Regular.”   See Santos Decl., Ex. F, ECF

No. 79-6; see also Caparas Decl., Ex. A, ECF No. 80 (designating

Mr. and Mrs. Lowry as “salary” and Mr. Napierala and Mr.

Aguinaldo as receiving an hourly rate of $45/hour and $40/hour,


8 (citing Yeh Decl. ¶ 2, ECF No. 44-13). In the first place,
Mr. Caparas has declared that he “did not represent that [his]
findings constituted the Secretary’s final determinations on
what charges to bring.” Caparas Decl. ¶ 5, ECF No. 80. In
addition, Defendants do not rely on this fact to argue that the
Secretary has waived or is equitably estopped from asserting a
claim for back wages on behalf of Mr. Napierala. Especially in
view of the Supreme Court’s recognition that its “decisions
interpreting the FLSA have frequently emphasized the nonwaivable
nature of an individual employee’s right to a minimum wage and
to overtime pay under the Act,” Barrentine v. Ark.-Best Freight
Sys., Inc., 450 U.S. 728, 740 (1981), this Court will not rely
on the investigator’s apparent representation here, even
assuming Defendants’ characterization of the representation is
accurate. See also Ruiz v. Fernandez, 949 F. Supp. 2d 1055,
1063 (E.D. Wash. 2013), order clarified, No. CV-11-3088, 2013 WL
12167930 (E.D. Wash. June 24, 2013) (noting that collateral
estoppel could not bar claims even where the Department of Labor
investigator found no violation because the Department did not
act in an adjudicatory capacity during the investigation).


                               - 29 -
respectively).     In addition, Mr. and Mrs. Lowry asserted in an

investigation statement that “[w]e have 2 salaried employees,

Vernon and Desiree Lowry.    Everyone else is paid hourly.”

Caparas Decl., Ex. B, ECF No. 80.    Finally, the Secretary also

relies on Mr. Lowry’s deposition stating Mr. Napierala’s rate

was $40 per hour.    V. Lowry Dep. at 161:5-17.

          The Secretary also argues that the promise of

“guaranteed pay” was a fiction because it was made to all of

Defendants’ employees.    Opp. at 21-22 (relying on Mr.

Napierala’s declaration that “[a]ll of the workers were told”

that “we would get paid for 40 hours of work,” Napierala Decl. ¶

7, ECF No. 81).8    Defendants dispute the relevance of how the

other employees were paid.    Reply at 16-17.


8
  The Secretary additionally asserted for the first time at the
hearing that the salary promise made to Mr. Napierala was only
for the first 40 hours of work and did not encompass the extra
hours actually worked. The Secretary then attempted to infer
that Mr. Napierala expected to be able to cash out or receive a
bonus for any extra hours not used through the banking system at
the end of the project, though Mr. Napierala’s declaration does
not explicitly state this expectation. Defendants argue that
this issue is not properly before the Court. The regulations
make clear that an exemption is not lost if an exempt employee
paid on a salary basis also receives additional compensation for
hours worked beyond the normal workweek and that such additional
compensation may be paid on any basis, including bonus,
straight-time hourly, or paid time off. 29 C.F.R. § 541.604(a);
see also Opinion Letter, 1965 DOLWH LEXIS 171 (Sept. 22, 1965).
Thus, even if this issue were before the Court, Mr. Napierala’s
entitlement to or expectation of additional compensation does
not affect that Mr. Napierala was objectively paid on a salaried
basis and therefore qualifies as an exempt employee, as
(Continued...)
                                - 30 -
             Defendants’ assertion that the focus of the salary

basis test is on the putative exempt employee, not on how the

other employees are paid, appears to be correct.      See 29 C.F.R.

§ 541.602.    The salary-basis test contrasts with other parts of

the exemption analysis, such as the definition of a “primary

duty” which explicitly accounts for “the relationship between

the employee’s salary and the wages paid to other employees for

the kind of nonexempt work performed by the employee,” among

other specified factors.    See id. § 541.700.   Rather the focus

of the salary-basis regulation appears to be the circumstances

in which deductions will not defeat the exemption.     See 29

C.F.R. § 541.602.

             Under the regulations, “[a]n actual practice of making

improper deductions demonstrates that the employer did not

intend to pay employees on a salary basis.”      29 C.F.R. §

541.603.   However, in the absence of actual deductions, there

must be “a clear and particularized policy — one which

effectively communicates that deductions will be made in

specified circumstances.”    Auer, 519 U.S. at 452.   Here, the

payroll records for Mr. Napierala and Mr. Aguinaldo show that


discussed infra. See Anani v. CVS RX Servs., Inc., 788 F. Supp.
2d 55, 65 (E.D.N.Y. 2011) aff'd, 730 F.3d 146 (2d Cir.
2013)(employee’s subjective and unsupported belief that he was
an hourly employee held insufficient where there was no
objective evidence that he would have received less than the
guaranteed rate if he had worked fewer hours).


                                - 31 -
they were paid the same amount every week, and that no

deductions were made.     See Napierala Decl., Ex. 1, ECF No. 81;

Santos Decl., Ex. E, ECF No. 79-5.       This stands in contrast to

other employees who did not receive consistent pay each week.

See D. Lowry Decl. ¶ 88-1, ECF No. 88-1 (identifying instances

of employees being paid for less than 40 hours per week).      Thus,

even though there is evidence that the allegedly hourly

employees were subject to deductions for time not worked, there

is no evidence showing a significant likelihood that Mr.

Napierala or Mr. Aguinaldo’s salary was subject to such

deductions.   See McGuire, 159 F.3d at 463 (holding that there

must objectively be a “significant likelihood that penalties

inconsistent with salaried status would be made”).

            Nor has the Secretary provided evidence of a

particularized policy which would clearly and effectively

communicate to Mr. Napierala or Mr. Aguinaldo that they could be

subject to deductions.9    Indeed the evidence points to the

contrary.   Mr. and Mrs. Lowry stated that Mr. Napierala and Mr.

Aguinaldo were paid at a guaranteed rate for 40 hours per week.

9
  Telling all employees as a group that excess hours would be
banked rather than paid does not “clearly and effectively
communicate” to Mr. Napierala and Mr. Aguinaldo in particular
that this policy also applied to them. And while the alleged
practice of banking overtime hours may present possible FLSA
violations as to hourly employees, it does not assist the Court
in determining in the first place whether Mr. Napierala and Mr.
Aguinaldo’s pay was subject to deductions.


                                - 32 -
V. Lowry Dep. at 161:16-21 (Napierala given a guaranteed rate

for 40 hours); 199:18-200:1 (Napierala and Aguinaldo were paid

for 40 hours at their guaranteed rates); D. Lowry Dep. at

174:23-175:3 (Napierala paid set rate for 40 hours).    And in his

deposition, Mr. Lowry drew a distinction between Mr. Aguinaldo

and Mr. Napierala and other employees whose pay was sometimes

docked when they did not work 8 hours.   V. Lowry Dep. 199:18-

200:12.

            The Secretary is thus left with the labels that

Defendants have used to describe the pay status of various

employees, see, e.g., Caparas Decl., Ex. A, ECF No. 80

(providing an hourly rate for Mr. Napierala and Mr. Aguinaldo

but labeling Mr. and Mrs. Lowry as salaried); Santos Decl., Ex.

F (same).   The labels Defendants used are simply not

determinative.   Just as a defendant’s subjective belief that its

employees are exempt is insufficient in light of evidence

showing compensation varied, see Klem, 208 F.3d at 1093, so too

are the descriptions of Mr. Napierala and Mr. Aguinaldo as

hourly employees insufficient where the Secretary has pointed to

no evidence supporting that there was a significant likelihood

their pay could be reduced.   See Anani v. CVS RX Servs., Inc.,

788 F. Supp. 2d 55, 65 (E.D.N.Y. 2011), aff'd, 730 F.3d 146 (2d

Cir. 2013) (finding no genuine issue of fact as to the salary-

basis test where “the payment records reflect[ed] a calculation

                               - 33 -
method that [was] not inconsistent with a salary basis of

payment, and because there [was] no evidence that the Plaintiff

was or would have been subject to improper deductions”); Aargo

Sec. Servs., 2001 WL 91705, at *9 (finding no dispute regarding

salary-basis where the employee’s pay had never been reduced and

there was no evidence supporting a significant likelihood it

would have been reduced had the occasion arisen).

            Accordingly, the Court finds that there is sufficient

evidence for a reasonable jury to conclude that Mr. Napierala

and Mr. Aguinaldo are salaried employees, and that the Secretary

has not put forward evidence creating a genuine dispute of fact

on this issue.   The Court therefore GRANTS Defendants’ Motion as

to Mr. Napierala and Mr. Aguinaldo and DISMISSES claims the

Secretary has brought on their behalf.

        C. Whether Mr. Aguinaldo is Owed Back Wages

            Defendants have argued in the alternative that even if

Mr. Aguinaldo was not an exempt employee, he is still not

entitled to back wages because he did not work overtime.     Motion

at 19-20.   The Court does not need to reach this issue since it

has concluded that Mr. Aguinaldo is exempt; but if it were to do

so, the Secretary has provided evidence that creates a dispute

of material fact as to this issue.      Opp. at 23-24; Pls. CSF ¶

19.   Specifically, other employees have provided evidence that

Mr. Aguinaldo worked six to seven days a week for 10 hours a

                               - 34 -
day.   See Napierala Decl. ¶¶ 5-6, ECF No. 81 (Napierala worked

with Aguinaldo, among others, and the schedule of working 10

hours a day 6-7 days a week was the same for everyone); Cummings

Decl. ¶ 3, ECF No. 85 (Cummings worked with Aguinaldo, among

others, and the schedule of working 10 hours a day was the same

for everyone); Tadio Decl. ¶ 5, ECF No. 84 (Tadio worked with

Aguinaldo, among others, 7 days per week and recalled seeing

Aguinaldo work at least as many hours as Tadio did).   Taken as

true, this evidence establishes a dispute of fact as to how many

hours Mr. Aguinaldo worked and whether he ever worked overtime.

However, in light of the Court’s findings that Mr. Aguinaldo is

exempt, this issue is moot.10

        D. Kahikapu Hendricksen

            Defendants have moved for summary judgment as to back

wages owed to Kahikapu Hendricksen on the basis that he did not

work overtime because he regularly came to work late and did not

work weekends.   Motion at 21; Hendricksen Decl. ¶ 3, ECF No. 44-

4.   However, the Secretary has provided evidence that creates a

dispute of material fact as to this issue.   Opp. at 23-24; Pls.

CSF ¶ 21.   Most importantly, according to an interview statement

from August 25, 2014, Mr. Hendricksen stated that he worked 10

10
  Although Defendants have argued in the alternative that Mr.
Aguinaldo did not work overtime, the Court notes that Defendants
do not appear to make the same alternative argument as to Mr.
Napierala and that such issue would be moot regardless.


                                - 35 -
hours a day, seven days a week and that his paycheck did not

show the overtime he had worked; instead those hours had been

banked.    Caparas Decl., Ex. F, ECF No. 80.   The declarations of

other employees provide additional evidence that Mr. Hendricksen

worked six to seven days a week for 10 hours a day.     See

Napierala Decl. ¶¶ 5-6, ECF No. 81 (Napierala worked with

Hendricksen, among others, and the schedule of working 10 hours

a day 6-7 days a week was the same for everyone); Cummings Decl.

¶ 3, ECF No. 85 (Cummings worked with Hendricksen, among others,

and the schedule of working 10 hours a day was the same for

everyone).    Taken as true, this evidence establishes a dispute

of fact as to how many hours Mr. Hendricksen worked and whether

he ever worked overtime.      Defendants’ Motion is accordingly

DENIED as to Mr. Hendricksen.

          E. James Teixeira

             Defendants have moved for summary judgment as to back

wages owed to James Teixeira on the basis that he did not work

overtime because he missed work on some days and did not work on

weekends, except when he had missed work during the week.

Motion at 24-25; Teixeira Decl. ¶ 3, ECF No. 44-12.     However,

the Secretary has provided evidence that creates a dispute of

material fact as to this issue.     Opp. at 24-26; Pls. CSF ¶ 25.

Specifically, other employees have provided evidence that Mr.

Teixeira worked six to seven days a week for 10 hours a day.

                                 - 36 -
See Napierala Decl. ¶¶ 5-6. ECF No. 81 (Napierala worked with

Teixeira, among others, and the schedule of working 10 hours a

day 6-7 days a week was the same for everyone); Cummings Decl. ¶

3, ECF No. 85 (Cummings worked with Teixeira, among others, and

the schedule of working 10 hours a day was the same for

everyone).    Taken as true, this evidence establishes a dispute

of fact as to how many hours Mr. Teixeira worked and whether he

ever worked overtime.    Defendants’ Motion is accordingly DENIED

as to Mr. Teixeira.

       F. James Dela Cuesta, Jaime Magallanes, Wesley Mericle,
          and Bruce Petree

             Finally, the Secretary originally sought back wages on

behalf of James Dela Cuesta, Jaime Magallanes, Wesley Mericle,

and Bruce Petree.    Compl., Ex. A.   Defendants asserted that

these four employees were not owed back wages.    Motion at 20-24.

The Secretary has now withdrawn his claims for overtime as to

these employees, as he does not dispute that they did not work

overtime.    See Opp. at 7 n.2; Pls. CSF at 2 n.2 (not disputing

the paragraphs of Defendants’ CSF asserting that these four

employees did not work overtime).     Accordingly, Defendants’

Motion is GRANTED as to Mr. Dela Cuesta, Mr. Magallanes, Mr.

Mericle, and Mr. Petree.    Claims on behalf of these four

employees are DISMISSED WITH PREJUDICE.




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                                 CONCLUSION

            For the foregoing reasons, the Court GRANTS IN PART

and DENIES IN PART Defendants’ Motion for Summary Judgment.

Defendants’ Motion as to the statute of limitations issue is

GRANTED as to equitable tolling but DENIED as to willfulness.

The Defendants’ Motion is GRANTED as to Richard Napierala, Frank

Aguinaldo, James Dela Cuesta, Jaime Magallanes, Wesley Mericle,

and Bruce Petree, and the Secretary’s claims as to these

employees are DISMISSED WITH PREJUDICE.          Defendants’ Motion is

DENIED as to Kahikapu Hendricksen and James Teixeira.

            IT IS SO ORDERED.

            DATED:   Honolulu, Hawaii, April 17, 2017.



                               ________________________________
                               Alan C. Kay
                               Sr. United States District Judge


Hugler v. Kazu Construction, et al., Civ. No. 16-00077 ACK-KSC, Order
Granting in Part and Denying in Part Defendants’ Motion for Partial Summary
Judgment.




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